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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                         CASE NO.13-14047-CR-M ARTm EZ/L> CH(s)(s)(s)

  UN ITED STA TES O F AM ERICA

          Plaintiff,
  V S.

  PAU L ED W A RD M OO RE,and
  AN TH ON Y JO HN SON ,

          D efendants.
                                    /

                       ORDER ADOPTING M AG ISTM TE'S REPORT AND
                 R EC O M M END A TIO N O N D EFEND A NT 'S M O TIO N S IN LIM INE

         THISCAUSE camebeforetheCourtuponDefendantM oore'sM otion lnLimine(D.E.
  No.274),andDefendantJohnson'sMotiontoAdoptPretrialMotionsInLimine(D.E.No.259
  and 274).
         THE M ATTER wasreferred to United StatesM agistrate JudgeFrarlk J.Lynch,Jr. A

  ReportandRecommendation(D.E.No.303)wasfiledonApril25,2014,recommendingthat
  DefendantM oore'sM otionlnLimine(D.E.No.274)bedenied andthatinrespecttoDefendant
  Johnson,thattheM otionInLimineadoptedbyhim at(D.E.No.259)andtheM otion lnLimine
  adoptedbyhim at(D.E.No274)bedenied.
         Thepartieswereaffordedtheopportunitytofilewrittenobjectionsfourteen(14)days
  from theentry ofthereport,andtherecordrevealsthatobjectionswerefiledbyDefendant
  M oore'sCounseland noted by thisCourt. Afterade novo review ofthe Record and M agistrate
  Lynch's w ell-reasoned Reportand Recom m endation,itis hereby:
         ORDERED AND ADJUDGED thatUnited StatesM agistrate JudgeFrank J.Lynch,
  Jr.'sReportandRecommendation(D.E.No.303)isherebyADOPTED AND APPROVED in
  itsentirety.
        DefendantM oore'sM otionlnLimine(D.E.No.274)isDENIED,andDefendant
  Johnson'sM otiontoAdoptPretrialM otionslnLimine(D.E.No's259and274)areDENIED.
         DONE AND ORDERED inChm bersatMiami,Florida,this X dayofM ,2014.
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                                                  J     . A RTIN EZ
                                                  > 1    STA TES D IST    CT JUD G E
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  M agistrateJudgeLynch
  A1lCounselOfRecord                                                                 l
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